Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 1 of 7 Page ID #:65




   1
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   3 431 N BROOKHURST ST, SUITE 130
     ANAHEIM, CA 92801
   4 Telephone: (310) 795-6905
   5 Attorney for Plaintiff
     Jane Doe
   6
   7                        UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9                                (WESTERN DIVISION)
  10    JANE DOE,                                  2:22-cv-02344-MEMF-GJSx
  11                                               PLAINTIFF JANE DOE’S
                     Plaintiff,                    APPLICATION FOR ENTRY OF
  12                                               DEFAULT AGAINST DEFENDANT
  13           v.                                  JOSEPH DIAZ JR.

  14    JOSEPH “JOJO” DIAZ JR.,                    Courtroom: 8B
  15                                               Judge: Hon. Maame Ewusi-Mensah
       Defendant.
  16                                               Frimpong

  17
  18 TO THE CLERK OF THE ABOVE-ENTITLED COURT:
  19
             Plaintiff Jane Doe respectfully requests that the Clerk enter a default against
  20
       Defendant Joseph Diaz Jr. on the ground that Defendant Diaz has failed to appear or
  21
  22 otherwise respond to the Complaint within the time prescribed by the Federal Rules
  23
       of Civil Procedure and this Court’s June 8, 2022 order. Affidavit of Rajan O.
  24
       Dhungana, ¶¶ 1-10.
  25
  26         Plaintiff Jane Doe filed her Complaint against Defendant Diaz on April 7,
  27
       2022. (ECF No. 1), Id. ¶2. The summons was issued on April 8, 2022. (ECF No. 7),
  28
                                                   PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                          OF DEFAULT AGAINST DEFENDANT DIAZ
Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 2 of 7 Page ID #:66




   1 Id. ¶3. Defendant Diaz was personally served with the Summons and Complaint on
   2 April 8, 2022 (ECF No. 7). Id. ¶4. Proof of service was filed with the Court on
   3
       April 12, 2022. (ECF No. 10), Id. ¶4.
   4
   5         As a courtesy Ms. Doe afforded Defendant Diaz an additional three weeks to

   6 answer the Complaint. Id ¶5. Defendant Diaz, acting in pro per, filed his answer on
   7
       May 18, 2022. (ECF No. 17), Id ¶6. The Court rejected that answer as deficient on
   8
   9 June 8, 2022, (ECF No. 19), and ordered Defendant Diaz to file an amended answer
  10 within five days thereafter. (ECF Nos. 18, 19). Id. ¶6. That time to answer expired
  11
     on June 13, 2022. No amended answer has been filed. Id.
  12
  13       Neither Plaintiff Jane Doe nor the Court has granted Defendant Diaz any

  14 further extension of time to answer or otherwise defend the Complaint. Id. ¶7.
  15
     Plaintiff does not believe that Defendant Joseph Diaz Jr. is an infant or incompetent
  16
  17 person or in the military or otherwise covered by the Servicemembers Civil Relief
  18 Act (50 U.S.C. App. § 521). Id. ¶8.
  19
  20 Dated: June 22, 2022                      Respectfully submitted,

  21
                                               /s/ Rajan O. Dhungana
  22                                           Rajan O. Dhungana (SBN: 297794)
  23                                           431 N BROOKHURST ST, SUITE
                                               Telephone: (310) 795-6905
  24                                           rdhungana@fedpractice.com
  25
                                               Attorney for Plaintiff
  26
                                               Jane Doe
  27
  28
                                                   PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                          OF DEFAULT AGAINST DEFENDANT DIAZ
Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 3 of 7 Page ID #:67




   1 Rajan O. Dhungana (SBN: 297794)
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   2 FEDERAL PRACTICE GROUP
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   4 Telephone: (310) 795-6905
   5 Attorney for Plaintiff
     Jane Doe
   6
   7                       UNITED STATES DISTRICT COURT
   8                     CENTRAL DISTRICT OF CALIFORNIA
   9                             (WESTERN DIVISION)
  10    JANE DOE,                            2:22-cv-02344-MEMF-GJSx
  11                                         DECLARATION OF RAJAN O.
                    Plaintiff,               DHUNGANA IN SUPPORT OF
  12                                         PLAINTIFF JANE DOE’S
  13          v.                             APPLICATION FOR ENTRY OF
                                             DEFAULT AGAINST DEFENDANT
  14                                         JOSEPH DIAZ JR.
        JOSEPH “JOJO” DIAZ JR.,
  15
       Defendant.                            Courtroom: 8B
  16                                         Judge: Hon. Maame Ewusi-Mensah
  17                                         Frimpong
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                                             PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                    OF DEFAULT AGAINST DEFENDANT DIAZ
Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 4 of 7 Page ID #:68




   1                      AFFIDAVIT OF RAJAN O. DHUNGANA

   2
   3
       I, Rajan O. Dhungana, state and declare as follows:
   4
   5 1.      I am an attorney duly licensed to practice law in the State of California and

   6 admitted to practice before this court. I am a partner in the law firm The Federal
   7
       Practice Group. I make this declaration of my own personal knowledge and could
   8
   9 and would so testify if called.
  10 2.    Plaintiff Jane Doe filed her Complaint against Defendant Joseph Diaz Jr. on
  11
     April 7, 2022. (ECF No. 1)
  12
  13 3.    The Court issued the summons to Defendant Joseph Diaz Jr. on April 8, 2022.

  14 (ECF No. 7)
  15
     4.   Defendant Joseph Diaz Jr. was personally served with the Summons and
  16
  17 Complaint on April 8, 2022 (ECF No. 7). Proof of service on Defendant Joseph
  18 Diaz Jr. was filed with the Court on April 12, 2022. (ECF No. 10)
  19
     5.    Defendant Joseph Diaz Jr. did not waive service under Fed R. Civ. P. 4(d).
  20
  21 Gina Simas and the law firm of VGC LLP represented that they intended to
  22 represent Joseph Diaz Jr. in this matter, and had asked for a three-week courtesy
  23
     extension on April 27, 2022. I afforded Defendant Joseph Diaz Jr., by and through
  24
  25 his counsel Gina Simas, the courtesy of a three-week extension by which to answer
  26 the Complaint. Therefore, pursuant to Fed. R. Civ. P. 12(a) and my three-week
  27
     courtesy extension, Defendant Joseph Diaz Jr. was required to have filed his answer
  28
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                                                  PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                         OF DEFAULT AGAINST DEFENDANT DIAZ
Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 5 of 7 Page ID #:69




   1 to, or otherwise have defended, the Complaint within 42 days of being served with
   2 the summons and the Complaint.
   3
       6.    Defendant Joseph Diaz Jr., acting in pro per, filed an answer to the Complaint
   4
   5 on May 18, 2022. (ECF No. 17). I informed VGC LLP that I would no longer be
   6 communicating with them since Joseph Diaz Jr. filed in pro per. VGC LLP
   7
       responded that they would continue to represent Joseph Diaz Jr. for settlement
   8
   9 purposes only. Joseph Diaz Jr. then emailed me from the email address
  10 jojotheboxer@gmail.com confirming as such.
  11
     7.     That answer was then rejected by the Court as deficient on June 8, 2022.
  12
  13 (ECF 19). The Court ordered Defendant Joseph Diaz Jr. to file an amended answer
  14 within five days thereafter. (ECF Nos. 18, 19). That time to answer expired on June
  15
     13, 2022. No amended answer was filed.
  16
  17 8.    Neither Plaintiff nor the Court has granted Defendant Joseph Diaz Jr. any
  18 further extensions of time to respond to the Complaint.
  19
     9.     Joseph Diaz Jr. has since represented to me that he consents to receiving
  20
  21 service of documents via email to the email address jojotheboxer@gmail.com.
  22 9.    I do not believe that Defendant Joseph Diaz Jr. is an infant or incompetent
  23
     person or in the military or otherwise covered by the Servicemembers Civil Relief
  24
  25 Act (50 U.S.C. App. § 521).
  26
  27
  28
                                                 2
                                                  PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                         OF DEFAULT AGAINST DEFENDANT DIAZ
Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 6 of 7 Page ID #:70




   1 10.     Pursuant to Fed. R. Civ. P. 55(a), when party against whom a judgment for

   2 affirmative relief is sought has failed to plead or otherwise defend, and that failure is
   3
       shown by affidavit or otherwise, the clerk must enter the party's default.
   4
   5 11.     Plaintiff Jane Doe has satisfied all conditions for entry of default against

   6 Defendant Joseph Diaz Jr. in this case.
   7
             I declare under penalty of perjury under the laws of the United States of
   8
   9 America that the foregoing is true and correct, and that this Declaration was
  10 executed this 22nd day of June, 2022, at Anaheim, California.
  11
  12
  13 DATE: June 22, 2022                              ______________________

  14                                                  Rajan O. Dhungana
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                                                   PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                          OF DEFAULT AGAINST DEFENDANT DIAZ
Case 2:22-cv-02344-MEMF-GJS Document 20 Filed 06/22/22 Page 7 of 7 Page ID #:71




   1               DECLARATION AND CERTIFICATE OF SERVICE
   2         I hereby declare and certify that on June 22, 2022, I filed the foregoing
   3 Plaintiff Jane Doe’s Application for Default Against Defendant Joseph P. Diaz Jr.,
   4 who has no known address, with the Clerk of the Court, pursuant to Fed. R. Civ. P.
   5 5(b)(2)(D) and sent a courtesy copy of such filing to Defendant Diaz at an email
     address that is claimed to belong to him, upon receiving consent from Defendant
   6
     Diaz that he would accept service via email: jojotheboxer@gmail.com
   7
   8         Furthermore, in conformance with Local Rules 5-3.1.2 and 5-3.2.1, I declare
   9 that I served Defendant Joseph P. Diaz Jr. as follows:
  10         (a) The day and manner of service: Defendant Diaz has no known address.
  11         Service occurred on June 22, 2022 by email to
             mailto:jojotheboxer@gmail.comjojotheboxer@gmail.com after receiving consent
  12         from Defendant Diaz. Additionally, Service occurred by leaving a copy of the
  13         filing with the court clerk pursuant to Fed. R. Civ. P. 5(b)(2)(D).
             (b) Each person and/or entity served: Defendant Joseph P. Diaz was served.
  14         (c) The title of each document served: “Plaintiff Jane Doe’s Application for
  15         Default Against Defendant Joseph P. Diaz Jr.”
             (d) The method of service employed: leaving it with the clerk and via email.
  16
  17
       Dated: June 22, 2022
  18
                                              Respectfully submitted,
  19
  20
                                              /s/ Rajan O. Dhungana
  21                                          Rajan O. Dhungana (SBN: 297794)
  22                                          rdhungana@fedpractice.com
                                              FEDERAL PRACTICE GROUP
  23                                          431 N Brookhurst St, Suite 130
  24                                          Anaheim, CA 92801
                                              Telephone: (310) 795-6905
  25
  26                                          Attorney for Plaintiff
                                              Jane Doe
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                                                  4
                                                  PLAINTIFF JANE DOE’S APPLICATION FOR ENTRY
                                                         OF DEFAULT AGAINST DEFENDANT DIAZ
